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                                   United States District Court
                                    Western District of Texas
                                         Waco Division

 Sherman Lamont Fields,
    Movant,

    v.                                                      No. W-01-CR-164(1)-ADA
                                                              No. 20-CV-527-ADA

 United States of America,
    Respondent.

                                            Judgment
         Before the Court is Movant Sherman Lamont Fields’s Successive Motion for Collateral
Relief (ECF No. 401), in which he moves under 28 U.S.C. § 2255 to vacate his counts of

conviction under 18 U.S.C. § 924(c)—Counts Three, Five, and Seven. The Court dismissed in

part and granted in part the motion. Accordingly, as all issues in the civil cause have been

resolved, the Court renders the following Final Judgment pursuant to Federal Rule of Civil

Procedure 58.

         It is therefore ORDERED that Movant Sherman Lamont Fields’s Successive Motion for

Collateral Relief (ECF No. 401) is DISMISSED IN PART and GRANTED IN PART as follows:

The portion of the Motion addressing Count Five is DISMISSED. The portion of the Motion

addressing Counts Three and Seven is GRANTED and Fields’s convictions and sentences on

Counts Three and Seven are VACATED. To the extent the motion addressing Count Five is

dismissed a certificate of appealability is DENIED. The above styled and numbered civil cause is

hereby CLOSED.




 Signed: January 19, 2021
                                                    ALAN D. ALBRIGHT
                                                    UNITED STATES DISTRICT JUDGE
